              Case:
                 ! 1:18-cv-00497-TSB-KLL Doc #: 1 Filed: 07/23/18 Page: 1 of 7 PAGEID #: 1




fnfitei)?, Vktyi PHti f''MuacAS                            / r4<.f7 aId.            n*il fi Pu497
  nans^K+.^atf ^^                                      /                            ijiHii.- -
 [ \)rfi /1 Ue,             h     (p*^ ^                                            ^                 •j f jr iTirt^'fcnrr-sp
                        i
                                o\   ° j-*rl^
                                WlCuirysTtH--
                                                                                    Wi-k...           Iku< uiffki^Vli^c
                                                                                                                     „,,».. .


 ^/.                   :!                                                                                •
3hit(>t^uioUfOMC)                                                                             :         1 „r
17D weSTii/lcf0                                                      .              '                   S ¥'              ' ,
 Trt              ftMIO          ^39>,IS                        .        .v.. . _       .               r',   -a;   ,,

                   '




                                  l:J%. <4nh (lnm< T.l                                                        ^          "•
                   i
                            tlp,(^C\Of^C^.^ K^/yArjHCmMUoJk^.llMAA
                            mA/p^C0JvtJi<.rAirmif^}rS^ ^fY),(yy)mL CID/mMxl (fPtd/WVi/ipi
                   I
                        —fiijit ty)iKj4/?^Y J)t^i)uNchii{fy[/) ff)/l .l/hmJ^i/A WimJm wmMo^/fmrn
                       !        D \             1     J! r     s- I 1 <r /ir J- ' ^ /^l '         "
                       ! KPuPA             hcAPA/jJi i ^UAJ         1AO. yl//577)/yU C7<Z(^
                       \—^/^^cs/iM iL J-^n.cof/yui)!n/y[Jl^u^uJ
                            tL<> r(fh^liUi^ j (fy\(lili)m b(~CjmfiNfmJ>Mt li-HeT-f\M ISmUlay} dMhdm^
                                      IS OM N-frCifil. CApMXTj PiSufi~OrJM^
                                                           SmTFTfi'l'7l:Pi r)Fr)llT/).[YfT/)fi^M,liM»!)i
                                                £.
                                                    fyin-TTAVi fa <;TTPl)i,ft--T:i(\lfo Y)i^.dwQ'^
                       a                   MU m                     il/m.0i




                  J Jl^hhlL,rrJ^fnvpLA1^^^rr'^?. 1 ^ .f)iAJC>. tilt's4f.TN<n'i^Ki!^
Case: 1:18-cv-00497-TSB-KLL Doc #: 1 Filed: 07/23/18 Page: 2 of 7 PAGEID #: 2
Case: 1:18-cv-00497-TSB-KLL Doc #: 1 Filed: 07/23/18 Page: 3 of 7 PAGEID #: 3
Case: 1:18-cv-00497-TSB-KLL Doc #: 1 Filed: 07/23/18 Page: 4 of 7 PAGEID #: 4
Case: 1:18-cv-00497-TSB-KLL Doc #: 1 Filed: 07/23/18 Page: 5 of 7 PAGEID #: 5
Case: 1:18-cv-00497-TSB-KLL Doc #: 1 Filed: 07/23/18 Page: 6 of 7 PAGEID #: 6
Case: 1:18-cv-00497-TSB-KLL Doc #: 1 Filed: 07/23/18 Page: 7 of 7 PAGEID #: 7
